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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT



BBAM AIRCRAFT MANAGEMENT LP                      Case No. 20-cv-01056 (VLB)
and BBAM US LP,

                    Plaintiffs,

              vs.

BABCOCK & BROWN LLC, BURNHAM
STERLING & COMPANY LLC,
BABCOCK & BROWN SECURITIES
LLC, BABCOCK & BROWN
INVESTMENT MANAGEMENT LLC,

                    Defendants.



              RULE 26(F) REPORT OF PARTIES’ PLANNING MEETING



Date Complaint Filed:                      July 27, 2020

Date Complaint Served:                     July 31, 2020 (Babcock & Brown LLC);

                                           August 14, 2020 (All Other Defendants)

Date First Amended Complaint Filed: September 25, 2020

Date of Defendants’ Appearance:            August 18, 2020



       Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, a

conference was held on September 17, 2020. The participants were:

       1.     Brian Spears, Diana Rutowski, Nathan Shaffer, and Sarah Mullins for

Plaintiffs (BBAM Aircraft Management LP and BBAM US LP, collectively “BBAM”

or “Plaintiffs”)
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       2.        Toby Soli and Daniel Schloss for Defendants (Babcock & Brown LLC,

Burnham Sterling & Company LLC, Babcock & Brown Securities LLC, Babcock &

Brown Investment Management LLC)

I.     CERTIFICATION

       Undersigned counsel (after consultation with their clients) certify that (a)

they have discussed the nature and basis of the parties' claims and defenses and

any possibilities for achieving a prompt settlement or other resolution of the

case; and (b) they have developed the following proposed case management

plan. Counsel further certify that they have forwarded a copy of this report to

their clients.

II.    JURISDICTION

       A.        Subject Matter Jurisdiction

       This Court has subject matter jurisdiction over these claims pursuant to 28

U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121, as this is an action arising under

the laws of the United States and relating to trademarks. This Court has both

original and supplemental jurisdiction over the related state law claims pursuant

to 28 U.S.C. §§ 1338(b) and 1367, as those claims are so related to the Lanham

Act claims that they form part of the same case or controversy as the federal

claims herein.

       B.        Personal Jurisdiction

       The Court has personal jurisdiction over Defendants because all

Defendants operate from principal places of business in Connecticut and three of

the Defendants are Connecticut limited liability companies.




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III.   BRIEF DESCRIPTION OF THE CASE

       A.    Claims of Plaintiffs

       Plaintiffs allege that Defendants should be held liable for trademark

infringement, unfair competition, and false advertising under federal and state

laws. Plaintiffs contend that Defendants’ use of the BABCOCK & BROWN, B&B,

and B & B infringes Plaintiffs’ rights in BBAM (which Plaintiffs allege to be short

for “Babcock & Brown Aircraft Management”),             , BABCOCK & BROWN,

and B&B arising from federal trademark registrations and under the common law

through decades of use by Plaintiffs. Plaintiffs further contend that Defendants

have made advertisements that falsely or misleadingly suggest sponsorship or

affiliation between Babcock & Brown LP (BBAM’s former owner) or BBAM itself

where no such relationship or connection exists. Plaintiffs seek all remedies

available under law, including damages, disgorgement of profits, and attorneys’

fees, as well as cancellation of Defendant Babcock & Brown LLC’s federal

registrations for the marks BABCOCK & BROWN and B&B and denial of Burnham

Sterling & Company LLC’s pending application for the mark BURNHAM

BABCOCK & BROWN.

       B.    Defenses and Claims of Defendants

       Defendant Babcock & Brown LLC owns federal registrations for the marks

BABCOCK & BROWN and B&B alleged to infringe Plaintiffs’ rights. Defendants

intend to move to dismiss the Amended Complaint for failure to state viable claims

as a matter of law because Plaintiffs have failed to allege facts sufficient to

plausibly claim protectible rights in the mark BABCOCK & BROWN alleged to be




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infringed, and the mark BBAM is so dissimilar to each of the accused marks as to

render implausible all claims based on ownership of that mark. Defendants deny

having made any false or misleading statements and further deny suggesting the

existence of any sponsorship or affiliation between the defunct Babcock & Brown

LP or Plaintiff BBAM itself. Defendants deny that Plaintiffs are entitled to any

damages or any other monetary recovery, or to cancellation of Defendant Babcock

& Brown LLC’s registrations for the marks BABCOCK & BROWN and B & B, or to

refusal of Defendant Burnham Sterling & Company LLC’s application for the mark

BURNHAM BABCOCK & BROWN.                In the event that the Amended Complaint

survives the motion to dismiss, Defendants intend to assert superior rights in the

marks at issue.

IV.       STATEMENT OF UNDISPUTED FACTS

          Counsel certify that they have made a good faith attempt to determine

whether there are any material facts that are not in dispute and that they will

continue to do so once the pleadings are joined and as the case proceeds. The

following material facts are undisputed:

         Plaintiff BBAM US LP owns federal registrations for the mark BBAM, Reg.

          No. 2,424,139, and the BBAM Logo (         ), Reg. No. 3,925,643.

         Defendant Babcock & Brown LLC owns United States Registration Nos.

          5,643,846 and 5,769,928 for the mark BABCOCK & BROWN and United

          States Registration Nos. 5,851,855 and 6,037,338 for the marks B & B and

          B&B, respectively.




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V.    CASE MANAGEMENT PLAN

      A.     Initial Disclosures

      Initial disclosures will be served by October 1, 2020.

      B.     Scheduling Conference

      1.     The parties request to excused from holding a pretrial conference

with the Court before entry of a scheduling order pursuant to Fed. R. Civ. P. 16(b).

      2.     The parties prefer that a scheduling conference, if held, be

conducted by telephone or videoconference.

      C.     Early Settlement Conference

      1.     The parties certify that they have considered the potential benefits of

attempting to settle the case before undertaking significant discovery or motion

practice. Settlement is unlikely at this time.

      2.     The parties do not request an early settlement conference.

      3.     With respect to a potential settlement conference, when held, the

Parties have not yet agreed whether such conference should be held before a

magistrate judge or the presiding judge.

      4.     The parties do not request a referral to alternative dispute resolution

pursuant to D. Conn. L. Civ. R. 16.

      D.     Joinder of Parties, Amendment of Pleadings, and Motions Addressed

             to the Pleadings

      1.     Plaintiffs should be allowed until October 30, 2020 to file motions to

join additional parties and until October 30, 2020 to file motions to amend the

pleadings. Motions filed after the foregoing dates will require, in addition to any




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other requirements under the applicable rules, a showing of good cause for the

delay.

         2.    Defendants previously moved to dismiss Plaintiffs’ complaint on

September 4, 2020. Plaintiffs filed a first amended complaint on September 25,

2020. Defendants intend to file a motion to dismiss Plaintiffs’ First Amended

Complaint. Defendants asked for and Plaintiffs agreed to a one-week extension

for the due date of Defendants’ motion to dismiss. The parties will file a

stipulation and proposed order reflecting a due date for the motion of October 16,

2020.

         E.    Discovery

         1.    Recognizing that the precise contours of the case, including the

amounts of damages at issue, if any, may not be clear at this point in the case, in

making the proposals below concerning discovery, the parties have considered

the scope of discovery permitted under Fed. R. Civ. P. 26(b)(1). At this time, the

parties do not have specific information to report regarding the “needs of the

case.”

         2.    The parties anticipate that discovery will be needed on the following

subjects:

        Plaintiffs’ rights, if any, in the BABCOCK & BROWN and B & B marks and

         BBAM marks;

        Defendants’ selection, use, and registration of the BABCOCK & BROWN

         and B&B marks;




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      Evidence of likelihood of confusion, including actual confusion or mistake

       between Plaintiffs and Defendants or their respective marks or their

       respective goods and services;

      Defendants’ sales and revenues for any good and services offered in

       connection with the B&B or BABCOCK & BROWN marks;

      Each Parties’ marketing, advertising, and/or statements that relate or refer

       to the B&B, BABCOCK & BROWN, or BBAM marks;

      Each Parties’ marketing, advertising, and/or statements that relate or refer

       to Babcock & Brown LP;

      Defendants’ knowledge of Plaintiffs and their marks; and

      Plaintiffs’ damages.

      Plaintiffs’ knowledge of Defendants’ use and registration of the marks

       BABCOCK & BROWN and B&B.

       3.    The parties have agreed to the case schedule set forth in this report

and summarized on Appendix A. All discovery, including depositions of expert

witnesses pursuant to Fed. R. Civ. P. 26(b)(4), has commenced and will be

completed (not propounded) by June 30, 2021.

       4.    Discovery will be conducted in phases: fact discovery will be

finished by March 16, 2021 and expert discovery will be finished by June 30, 2021.

       5.     The parties anticipate that Plaintiffs will require a total of 5

depositions of fact witnesses and that the Defendants will require a total of 5

depositions of fact witnesses. The depositions will commence by February

1,2021 and will be completed by March 16, 2021. The parties do not anticipate




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requesting permission to serve more than 25 interrogatories per side. The parties

have agreed that, for each interrogatory, a response may be requested by

multiple plaintiffs or defendants, and each identified party shall respond and do

so such that is clear to which entity or entities the responses apply.

        6.    Plaintiffs intend to call expert witnesses at trial. Defendants have not

yet determined whether they will call expert witnesses at trial.

        7.    Parties will designate all trial experts pursuant to Fed. R. Civ. P.

26(a)(2) and provide opposing counsel with reports from experts, if required by

Fed. R. Civ. P. 26(a)(2)(B), on any issues on which they bear the burden of proof

by March 30, 2021. Depositions of any such experts will be completed by May 1,

2021.

        8.    Parties will designate all trial experts pursuant to Fed. R. Civ. P.

26(a)(2) and provide opposing counsel with reports from experts, if required by

Fed. R. Civ. P. 26(a)(2)(B), on any issues on which they do not bear the burden of

proof by May 30, 2021. Depositions of such experts will be completed by June 22,

2021.

        9.    A damages analysis will be provided by any party who has a claim or

counterclaim for damages by March 30, 2021.

        10.   Undersigned counsel (after consultation with their respective clients

concerning computer-based and other electronic information management

systems, including historical, archival, back-up and legacy files, in order to

understand how information is stored and how it may be retrieved) and self-

represented parties have discussed the disclosure and preservation of




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electronically stored information, including, but not limited to, the form in which

such data shall be produced, search terms and/or other techniques to be used in

connection with the retrieval and production of such information, the location and

format of electronically stored information, appropriate steps to preserve

electronically stored information, and the allocation of costs of assembling and

producing such information. The parties have agreed to enter into a separate

stipulation regarding the procedures for the preservation, disclosure and

management of electronically stored information. In the meantime, both parties

have instructed their clients to preserve electronically stored information related

to this matter consistent with their obligations under the Federal Rules of Civil

Procedure.

      11.    Undersigned counsel (after consultation with their clients) and self-

represented parties have also discussed the location(s), volume, organization,

and costs of retrieval of information stored in paper or other non-electronic

forms. The parties have agreed to enter into a separate stipulation regarding the

procedures for the preservation, disclosure and management of information

stored in paper or other non-electronic forms. In the meantime, both parties have

instructed their clients to preserve such information related to this matter, to the

extent any exists.

      12.    Undersigned counsel have discussed discovery procedures that

minimize the risk of waiver of privilege or work-product protection, including

procedures for asserting privilege claims after production. The parties will

discuss this topic further after the case management conference. The parties




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anticipate submitting a revised stipulated proposed protective order, and in the

meantime the parties agree to the terms of the existing Standing Protective Order.

      F.     Other Scheduling Issues

      The Parties do not have other scheduling issues to address.

      G.     Summary Judgment Motions

      Summary judgment motions, which must comply with Local Rule 56, will be

filed on or before July 30, 2021.

      H.     Joint Trial Memorandum

      The Joint Trial Memorandum required by the Standing Order on Trial

Memoranda in Civil Cases will be filed by November 5, 2021. The parties will

attach to the Joint Trial Memorandum motions in limine along with memoranda of

law concerning any anticipated evidentiary issues. All memoranda in opposition

to any motion in limine must be filed by November 15, 2021.

VI.   TRIAL READINESS

      The case will be ready for trial by December 1, 2021.



      As officers of the Court, undersigned counsel agree to cooperate with each

other and the Court to promote the just, speedy and inexpensive determination of

this action. The Parties have agreed to accept service by email in this action,

with service by midnight Eastern Time constituting service that day.




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                                     APPENDIX A

   SUMMARY OF JOINTLY PROPOSED CASE SCHEDULE SET FORTH IN THE JOINT

                                        REPORT


                 Event                                  Date


Defendants’ Motion to Dismiss Due                 October 16, 2020


Plaintiffs’ Deadline to Amend Pleadings           October 30, 2020


Plaintiffs’ Opposition to Defendants’
                                                  November 6, 2020
Motion to Dismiss Due


Defendants’ Reply to Plaintiffs’
Opposition to Defendants’ Motion to               November 20, 2020
Dismiss Due


Fact Discovery Closes                              March 16, 2021


Expert Disclosures / Reports Due –
                                                   March 30, 2021
Party with Burden of Proof


Expert Depositions Complete – Party
                                                     May 1, 2021
with Burden of Proof


Expert Disclosures / Reports Due –
                                                    May 30, 2021
Party without Burden of Proof


Expert Discovery Closes                             June 30, 2021


Dispositive Motions                                 July 30, 2021


Opposition to Dispositive Motions                  August 20, 2021




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                Event                                 Date


Reply to Opposition to Dispositive
                                                September 3, 2021
Motions


Joint Trial Memorandum / Motions in
                                                November 5, 2021
Limine


Opposition to Motions in Limine                November 15, 2021


Trial Readiness Date                            December 1, 2021




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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 1, 2020, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing.

Parties may access this filing through the Court’s CM/ECF system.




                                                       /s/ Diana M. Rutowski
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